10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      1 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      2 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      3 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      4 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      5 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      6 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      7 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      8 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      9 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      10 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      11 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      12 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      13 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      14 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      15 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      16 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      17 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      18 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      19 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      20 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      21 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      22 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      23 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      24 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      25 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      26 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      27 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      28 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      29 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      30 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      31 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      32 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      33 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      34 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      35 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      36 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      37 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      38 of 39
10-05461-shl   Doc 1-3   Filed 12/17/10 Entered 12/17/10 15:29:48   Exhibit C   Pg
                                      39 of 39
